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 8
                                     UNITED STATES DISTRICT COURT
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                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11   STEVE WILSON BRIGGS,                                       Case No.: 3:20-CV-01596-WHO
12                  Plaintiff,                                  Assigned to the Honorable Vince Chhabria
13                  v.                                          DEFENDANT MICHAEL PIERCE’S
                                                                DECLARATION
14   JAMES CAMERON; TWENTIETH CENTURY FOX
     FILM CORP.; NEWS CORP.; GOOGLE LLC; ZERO                   FILED CONCURRENTLY WITH
15   GRAVITY; INTERNET ARCHIVE; LIGHTSTORM                      NOTICE OF MOTION AND MOTION
     ENTERTAINMENT INC.; MICHAEL PIERCE;                        TO DISMISS COMPLAINT
16   MARK WILLIAMS; ROBERT KAMEN,
                                                                Hearing Date:
17                  Defendants.                                 Time:
                                                                Dept.: 2 – 17th Floor
18

19
                                   DECLARATION OF MICHAEL PIERCE
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     I, MICHAEL PIERCE, declare as follows:
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            1.      I am a defendant in this action, and respectfully submit this declaration in support of my
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     motion to dismiss the complaint of Plaintiff Steve Wilson Briggs. I have personal knowledge of the facts
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     set forth herein and, if called as a witness, I could and would competently testify to them.
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            2.      I was never associated in any way with the films Avatar or Taken, and had never heard of
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     Plaintiff or Butterfly Driver until he was served with the Complaint at issue.
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            3.      I worked at Zero Gravity Management (“ZGM”) from 2003-2007.
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            4.      ZGM never went out of business and is completely unaffiliated and unrelated to a group
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                                                          12
                         DEFENDANT MICHAEL PIERCE’S MOTION TO DISMISS COMPLAINT
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       1             4.       ZGM never went out of business and is completely unaffiliated and unrelated to a group

       2    called “Zero Gravity Internet Group.”

       3             5.       ZGM never opened a new company called “Future Service, Inc.” (Compl. ¶¶ 2-10.) “Future

       4    Service, Inc.” was opened by a completely separate film entity called “Future Films” with whom ZGM

       5    happened to share offices and for whom it co-produced a movie. ZGM had no affiliation otherwise with

       6    Future Films, or Future Service, Inc.

       7             6.       I never had any access to the script Butterfly Driver and I never read it, or had it in my

       8    possession in any capacity.

       9             7.       I never submitted the script Butterfly Driver to any studio.

      10             8.       I have no close friends at 20th Century Fox.

      11             I declare under penalty of perjury under the laws of the State of California, that the foregoing is

      12    true and correct, and that this declaration was executed on June 24, 2020, at Los Angeles, California.

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      15                                                                                      MICHAEL PIERCE
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                                 DEFENDANT MICHAEL PIERCE’S MOTION TO DISMISS COMPLAINT
